    Case 3:19-cv-00051-S Document 16 Filed 04/18/19                    Page 1 of 7 PageID 49



                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION


KARLTON A. MAYDWELL,               §
  Plaintiff                        §
                                   §
                                   §                         CIVIL ACTION NO. 3:19-cv-00051-S
vs.                                §
                                   §
                                   §
CIARA FINANCIAL SERVICES, INC. dba §
CLAY COOLEY AUTO GROUP             §
  Defendant                        §
                                   §


       DEFENDANT’S MOTION TO DISMISS FOR LACK OF SUBJECT MATTER JURISDICTION AND
             RULE 12 (B)(6) MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM
                           WITH MEMORANDUM OF AUTHORITIES


TO THE HONORABLE JUDGE OF THE UNITED STATES DISTRICT COURT:

NOW COMES Defendant Ciara Financial Services, Inc. (named incorrectly in

Plaintiff’s Complaint as “Ciara Financial Services, Inc. dba Clay Cooley Auto Group”),

and makes and files this, Defendant’s Motion to Dismiss For Lack of Subject Matter

Jurisdiction and Rule 12 (B)(6) Motion to Dismiss for Failure To State A Claim With

Memorandum of Authorities, pursuant to Rule 12(b) of the Federal Rules of Civil

Procedure.      Plaintiff Karlton Maydwell’s Complaint should be dismissed for failure to

state a claim upon which relief can be granted, or alternatively for lack of subject matter

jurisdiction.




Defendant’s Motion to Dismiss For Lack of Jurisdiction and Rule 12 (B)(6) Motion to Dismiss for Failure
To State A Claim With Memorandum of Authorities                                                   Page 1
    Case 3:19-cv-00051-S Document 16 Filed 04/18/19                    Page 2 of 7 PageID 50



                                    I.    SUMMARY OF THE ARGUMENT

1.01. Plaintiff filed his Complaint on January 8, 2019.                Upon Order of this Court,

Defendant answered this Complaint on April 22, 2019, and Defendant also

contemporaneously filed this Rule 12(b)(6) Motion to Dismiss. Plaintiff’s Complaint

arises from circumstances surrounding Plaintiff’s purchase and finance of an

automobile from Clay Cooley Enterprises, Inc. dba Clay Cooley Motor Company. Mr.

Maydwell financed his purchase of the automobile through a retail installment contract

and a loan which was provided by Clay Cooley Motor Company, and later transferred

to Ciara Financial Services, Inc.



1.02. The Defendant Ciara Financing Services, Inc.                 [“Ciaria”]   Ciara does not do

business as “Clay Cooley Group”, and Plaintiff’s allegation in the caption of this Lawsuit

is in error. Plaintiff’s claims against Ciara can be summarily dismissed as Plaintiff fails

to identify any set of facts or any basis in law for holding Ciara liable for any

misconduct under the Telephone Consumer Protection Act, 47 USC §277 et seq.

Plaintiff’s additional Count II claim is stated solely under state law, and relies solely on

the Texas Finance Code for its support. As a state law claim only, the Plaintiff’s cause

of action for violation of the Texas Finance Code cannot stand on the basis of pendant

jurisdiction, as there is no federal question matter for it to attach to.



                                         STANDARD OF REVIEW




Defendant’s Motion to Dismiss For Lack of Jurisdiction and Rule 12 (B)(6) Motion to Dismiss for Failure
To State A Claim With Memorandum of Authorities                                                   Page 2
          Case 3:19-cv-00051-S Document 16 Filed 04/18/19                    Page 3 of 7 PageID 51



2.01. Under Rule 12(b)(6) of the Federal Rules of Civil Procedure, pleadings that do

not set forth claims upon which relief can be granted must be dismissed.1


2.02. Although courts in general liberally construe a plaintiff’s complaint, more than

bare assertions of legal conclusions are required to satisfy federal notice pleading

requirements.2           In practice, a complaint must contain either direct or inferential

allegations respecting all the material elements to sustain a recovery under some

viable legal theory.3



2.03.        When this Court construes allegations of Plaintiff’s Complaint in his favor, the

Court will find that the Complaint fails to state a claim for relief against Ciara under any

federal statutes theories that form the basis of Plaintiff’s claims for relief. Therefore,

Plaintiff’s claims against Ciara must be dismissed.


            I.     PLAINTIFF’S COMPLAINTS UNDER THE TELEPHONE CONSUMER PROTECTION ACT

3.01.            Plaintiff alleges that Ciara violated the Telepnone Consumer Protection Act,

47 USC § 277 et seq [“TCPA”] by placing multiple calls to Plaintiff’s telephone number,

which is alleged to be a cellular telephone number.4




1
 Jackson v. City of Columbus, 194 F.3d 737, 745 (6th Cir. 1999) (holding that “[d]ismissal pursuant to a
Rule 12(b)(6) motion is proper only if it is clear that no relief could be granted under any set of facts that
could be proved consistent with the allegations”).
2
    Scheid v. Fanny Farmer Candy Shops, Inc., 859 F.2d 434, 436-37 (6th Cir. 1988).
3
    Id.
4
    See Plaintiff’s Complaint at Paragrapn ___.
Defendant’s Motion to Dismiss For Lack of Jurisdiction and Rule 12 (B)(6) Motion to Dismiss for Failure
To State A Claim With Memorandum of Authorities                                                   Page 3
       Case 3:19-cv-00051-S Document 16 Filed 04/18/19                 Page 4 of 7 PageID 52



3.02. Plaintiff fails to point out to the court that the Federal Communications

Commission has specific statutory authority to declare exemptions from TCPA’s

provisions, and it has done so. In 47 CFR 64.1200, the Federal Communications

Commission has established the following regulation:

           (a) No person or entity may:

           *********

           (3) Initiate any telephone call to any residential line using an artificial or

           prerecorded voice to deliver a message without the prior express written

           consent of the called party, unless the call;

            *********

                         i. (iii) Is made for a commercial purpose but does not

                            include or introduce an advertisement or constitute

                            telemarketing.5

3.03. The FCC regulatory provisions state that the TCPA was designed to address

calls for telemarketing purposes.6 Consequently, calls by a lender or a loan servicer to

a borrower about a loan in default are not telemarketing calls. Plaintiff’s TCPA claim

fails as a matter of law and should be dismissed.



3.04. The FCC regulations which exempt commercial calls made for debt collection

from the TCPA have been reviewed and construed by several federal courts. At the

outset, it is prudent to observe that if one wishes to challenge the validity of FCC

5
    47 C.F.R. 64.1200 (a) (3) (iii).
6
    See 47 C.F.R. §64.1200(d)(3) and (6).
Defendant’s Motion to Dismiss For Lack of Jurisdiction and Rule 12 (B)(6) Motion to Dismiss for Failure
To State A Claim With Memorandum of Authorities                                                   Page 4
       Case 3:19-cv-00051-S Document 16 Filed 04/18/19                      Page 5 of 7 PageID 53



regulations, the place to do it is in and administrative proceeding before the FCC. The

FCC has interpretive authority over the TCPA.7                        Federal district courts widely

recognize that the rulings of the FCC shape the law in this area.8                  Because Plaintiff

has failed to initiate an administrative proceeding at the agency level, he may not

directly challenge the validity of the FCC’s interpretations, and the district court lacks

jurisdiction to consider whether the FCC’s interpretations are consistent with the

TCPA.9 Accordingly, this case turns only on whether the district court has subject

matter jurisdiction to hear a TCPA dispute that arises out of complaints against a

defendant who seeks to collect on an loan in default.


3.05. Baisden v. Credit Adjustments, Inc.10                        provides useful and instructive

precedent.         In Baisden, a        collection of debtors alleged that calls made by debt

collectors to cell phones of the debtors were made in violation of the TCPA. As in our

present case, the Baisden plaintiffs alleged the debt collectors use automatic dialers

and pre-recorded messages. Held, the provisions of TCPA did not apply. Summary

judgment in the trial court for defendants was upheld on appeal.


3.06. In Herrera v. AllianceOne Receivable Management, Inc.,11 a federal district

court sitting in California held that debt collection calls are exempt by FCC regulation

7
    Charvat v. EchoStar Satellite, LLC, 630 F.3d 459, 467 (6th Cir.2010).
8
 Hill v. Homeward Residential, Inc., 799 F.3d 544, 551 (6th Cir.2015); see also, Baisden v. Credit
Adjustments, Inc., 813 F.3d 338 ( 6th Cir. 2016).
9
    813 F.3d 338 (2016).
10
     813 F.3d 338 (2016).
11
     170 F.Supp.3d 1282 (2016).
Defendant’s Motion to Dismiss For Lack of Jurisdiction and Rule 12 (B)(6) Motion to Dismiss for Failure
To State A Claim With Memorandum of Authorities                                                   Page 5
        Case 3:19-cv-00051-S Document 16 Filed 04/18/19                Page 6 of 7 PageID 54



from Telephone Consumer Protection Act’s prohibition against using an artificial or

prerecorded voice to deliver a message. The exemption includes calls to debtors and

non-debtors alike. Plaintiffs’ claims under the TCPA were dismissed upon a ruling in

favor of Defendants’ 12(b)(6) motion.



3.07. Likewise, in Bridge v. Ocwen Bank,12 a federal district court sitting in Ohio

evaluated TCPA claims in the context of a debt collector’s efforts to collect on a

mortgage loan in default.             The debtor complained vociferously about alleged

wrongdoing of the loan servicer, which was a different entity than the lender. The

Plaintiff’s TCPA claims were dismissed, on the basis the Court lacked subject matter

jurisdiction. In addition, the Court dismissed Plaintiffs’ pendent state claims without

prejudice, because there was no federal question claim for the remaining state claims

to attach to.13

                                                PRAYER

WHEREFORE, PREMISES CONSIDERED, Defendant Ciara prays that upon

consideration hereof, that this Honorable Court find and order that all of Plaintiffs’

claims against Ciara Financial Services, Inc. dba Clay Cooley Auto Group in their

Complaint at Count I and Count II should fail for lack of subject matter jurisdiction, and

that each and all of such claims should therefore be dismissed pursuant to Rule 12 (b)

(6) of the Federal Rules of Civil Procedure.




12
     2013 WL 331095 (ND Ohio 2013), not generally reported.
13
     Id. at *2.
Defendant’s Motion to Dismiss For Lack of Jurisdiction and Rule 12 (B)(6) Motion to Dismiss for Failure
To State A Claim With Memorandum of Authorities                                                   Page 6
    Case 3:19-cv-00051-S Document 16 Filed 04/18/19                    Page 7 of 7 PageID 55



                                                Respectfully submitted,

                                                DOWNS♦STANFORD, P.C.

                                                /s/ R. Lynn Fielder
                                                 BY: ______________________
                                                 R. Lynn Fielder
                                                 Texas State Bar No. 06971100
                                                 Downs ♦ Stanford, P.C.
                                                 2001 Bryan Street, Suite 4000
                                                 Dallas, TX 75201
                                                 Telephone: 214.748.7900
                                                 Telecopier: 214.748.4530
                                                 Email: lfielder@downsstanford.com

                                                 /s/ Rodney M. Patterson
                                                 BY: ______________________
                                                 Rodney M. Patterson
                                                 Texas State Bar No. 15605300
                                                 Downs ♦ Stanford, P.C.
                                                 2001 Bryan Street, Suite 4000
                                                 Dallas, TX 75201
                                                 Telephone: 214.748.7900
                                                 Telecopier: 214.748.4530
                                                 Email: rpatterson@downsstanford.com

                                                Attorneys for Defendant Ciara Financial
                                                Services, Inc., incorrectly sued as Ciara
                                                Financial Services, Inc. dba Clay Cooley
                                                Auto Group


                                  CERTIFICATE OF SERVICE

This is to certify that a true and correct copy of the foregoing instrument has
been served upon all counsel of record on this the 18th day of April, 2019 in
accordance with the FEDERAL RULES OF CIVIL PROCEDURE.

                                                 /s/ Rodney M. Patterson
                                                _______________________
                                                Rodney M. Patterson




Defendant’s Motion to Dismiss For Lack of Jurisdiction and Rule 12 (B)(6) Motion to Dismiss for Failure
To State A Claim With Memorandum of Authorities                                                   Page 7
